Case 0:18-cv-62489-BB Document 4 Entered on FLSD Docket 10/25/2018 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 18-cv-62489-BLOOM/Valle

 THOMAS JAMES LACORAZZA,

        Plaintiff,

 v.

 CITY OF POMPANO BEACH,
 BROWARD SHERIFF’S OFFICE, and
 DEPUTY VICENTE SAN ROMAN,

       Defendants.
 __________________________________/

                             ORDER DISMISSING COMPLAINT

        THIS CAUSE is before the Court upon Plaintiff Thomas James Lacorazza’s (“Plaintiff”)

 Motion for Leave to Proceed in forma pauperis, ECF No. [3] (“IFP Motion”). Plaintiff filed the

 Complaint in this matter on October 16, 2018. ECF No. [1]. Plaintiff has not paid the required

 filing fee, and thus, the screening provisions of 28 U.S.C. § 1915(e) are applicable. The Court

 has carefully reviewed the Complaint, the IFP Motion and the record in this case, and is

 otherwise fully advised. For the reasons that follow, the Complaint is DISMISSED WITHOUT

 PREJUDICE, and the IFP Motion is DENIED AS MOOT.

        Fundamental to our system of justice is that the courthouse doors will not be closed to

 persons based on their inability to pay a filing fee. Congress has provided that a court “may

 authorize the commencement . . . or prosecution of any suit, action or proceeding . . . or appeal

 therein, without the prepayment of fees . . . therefore, by a person who submits an affidavit that

 includes a statement of all assets such [person] possesses that the person is unable to pay such

 fees. . . .” 28 U.S.C. § 1915(a)(1); see Martinez v. Kristi Kleaners, Inc., 364 F.3d 1305, 1306 n.1
Case 0:18-cv-62489-BB Document 4 Entered on FLSD Docket 10/25/2018 Page 2 of 5
                                                              Case No. 18-cv-62489-BLOOM/Valle


 (11th Cir. 2004) (interpreting statute to apply to all persons seeking to proceed in forma

 pauperis).

        However, in addition to the required showing that the litigant, because of poverty, is

 unable to pay for the court fees and costs, Martinez, 364 F.3d at 1307, upon a motion to proceed

 in forma pauperis the Court is required to examine whether “the action or appeal (i) is frivolous

 or malicious; (ii) fails to state a claim on which relief may be granted; or (iii) seeks monetary

 relief against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2). If the Court

 determines that the complaint satisfies any of the three enumerated circumstances under Section

 1915(e)(2)(B), the Court must dismiss the complaint.

        A pleading in a civil action must contain “a short and plain statement of the claim

 showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Although a complaint

 “does not need detailed factual allegations,” it must provide “more than labels and conclusions,

 and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 555 (2007); see Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining

 that Rule 8(a)(2)’s pleading standard “demands more than an unadorned, the-defendant-

 unlawfully-harmed-me accusation”). Nor can a complaint rest on “‘naked assertion[s]’ devoid of

 ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557

 (alteration in original)). In short, “a complaint must contain sufficient factual matter, accepted as

 true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly, 550 U.S. at

 570). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Iqbal, 556 U.S. at 678.

        Importantly, “[p]ro se pleadings are held to a less stringent standard than pleadings




                                                  2
Case 0:18-cv-62489-BB Document 4 Entered on FLSD Docket 10/25/2018 Page 3 of 5
                                                           Case No. 18-cv-62489-BLOOM/Valle


 drafted by attorneys and [are] liberally construed.” Tannenbaum v. United States, 148 F.3d

 1262, 1263 (11th Cir. 1998). “But the leniency accorded pro se litigants does not give a court

 license to serve as de facto counsel for a party or to rewrite an otherwise deficient pleading to

 sustain an action.” Matthews, Wilson & Matthews, Inc. v. Capital City Bank, 614 F. App’x 969,

 969 n.1 (11th Cir. 2015) (citing GJR Invs., Inc. v. Cty. of Escambia, Fla., 132 F.3d 1359, 1369

 (11th Cir. 1998), overruled in part on other grounds by Randall v. Scott, 610 F.3d 701, 709 (11th

 Cir. 2010)).

        In the instant case, Plaintiff asserts claims under 42 U.S.C. § 1983 against the City of

 Pompano Beach, the Broward Sheriff’s Office, and Deputy San Roman, for what he contends are

 violations of his First, Fourth, Fifth, and Eighth Amendment rights, arising from an incident in

 which he was arrested and charged for a civil infraction. In order to state a claim under 42

 U.S.C. § 1983, a plaintiff must plead that he was (1) deprived of a right; (2) secured by the

 Constitution or laws of the United States; and (3) that the alleged deprivation was committed

 under color of state law. See Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 50 (1999);

 Rayburn v. Hogue, 241 F.3d 1341, 1348 (11th Cir. 2001).

        In pertinent part, Plaintiff alleges that he was walking on the north side of Atlantic

 Boulevard in Pompano Beach, when Deputy San Roman pulled up next to him in a patrol car and

 began to follow alongside him, telling him that the beach was closed. ECF No. [1] at 18.

 According to Plaintiff, he had no intention of going to the beach, and began to feel harassed and

 threatened by Deputy San Roman, who followed him for five blocks. Id. A short time later,

 Deputy San Roman drove away from Plaintiff, who sat down at the stairs of a beach access

 bridge near N.E. 5th Street. Id. at 18-19. Fifteen minutes later, Deputy San Roman returned,

 whereupon Plaintiff shouted out “Ah-ha, I’m still here. I didn’t go to the beach. Ah-hah, I’m




                                                3
Case 0:18-cv-62489-BB Document 4 Entered on FLSD Docket 10/25/2018 Page 4 of 5
                                                            Case No. 18-cv-62489-BLOOM/Valle


 still here!” Id. at 19. According to Plaintiff, Deputy San Roman then made an aggressive u-turn,

 parked his vehicle, got out with gloves already on, and began to pull Plaintiff’s blanket away in

 attempts to arrest him. Id. A struggle followed, during which Deputy San Roman placed

 Plaintiff into a choke hold, and with the help of several other sheriff deputies who arrived on-

 scene, took Plaintiff to the ground and placed him in handcuffs. Id. As a result, Plaintiff

 sustained injuries to his neck and throat area. Id. at 12, ¶ 21. Plaintiff alleges that he was

 subsequently charged with violation of a municipal ordinance and resisting an officer. Id. at 19.

        In further support of his claims, Plaintiff includes various pages containing copious legal

 conclusions, citations to case law and statutes, excerpts from the Pompano Beach Code of

 Ordinances, the Florida Statutes, the Florida Constitution, and a law review article, and materials

 from the underlying state court criminal case. Upon review, however, the Court cannot discern

 any actionable claims from the facts as pled, and some of the facts are contradicted by the

 documents attached to the Complaint.       For example, the Information, which is among the

 documents attached to Plaintiff’s Complaint, contradicts Plaintiff’s assertion that he was arrested

 for and charged with a violation of a municipal ordinance, as it indicates that he was charged

 only with resisting or obstructing a police officer without violence. See ECF No. 1 at 39.

        Although the Court liberally construes pro se pleadings, the Court is not free to construct

 causes of action for which adequate facts are not pled.         Indeed, although Plaintiff states

 conclusively that Deputy San Roman’s conduct violated his First, Fourth, Fifth, and Eighth

 Amendment rights, and Plaintiff seeks to hold the City of Pompano Beach and the Broward

 Sheriff’s Office responsible, Plaintiff has not stated sufficient facts to state plausible claims

 based on these theories.

        As currently pled, the Complaint fails to state a claim for relief and must be dismissed.




                                                 4
Case 0:18-cv-62489-BB Document 4 Entered on FLSD Docket 10/25/2018 Page 5 of 5
                                                   Case No. 18-cv-62489-BLOOM/Valle


 Accordingly, the Complaint, ECF No. [1], is DISMISSED WITHOUT PREJUDICE, and the

 IFP Motion, ECF No. [3], is DENIED AS MOOT. The Clerk of Court is directed to CLOSE

 this case.

         DONE AND ORDERED in Chambers at Miami, Florida, this 25th day of October,

 2018.




                                             ____________________________________
                                             BETH BLOOM
                                             UNITED STATES DISTRICT JUDGE
 Copies to:

 Thomas James Lacorazza, pro se
 c/o Angela and William Masaro
 980 Greenwood Road
 Weston, Florida 33327




                                         5
